                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  MICHELLE L. ALMANZA,                               )
                                                     )
                 Plaintiff,                          )          CIV NO. 3:15-cv-389
                                                     )          (VARLAN/GUYTON)
         v.                                          )
                                                     )
  JEFFERSON B. SESSIONS III,                         )
  Attorney General,                                  )
  United States Department of Justice,               )
                                                     )
                 Defendant.                          )


   REPLY TO DEFENDANT’S OBJECTION TO PLAINTIFF’S MOTION TO LIFT STAY
                        AND RE-OPEN DISCOVERY


         Plaintiff, Michelle L. Almanza, through counsel, hereby replies to the objections filed by

  Defendant Department of Justice (DOJ) [Doc. 124] in response to her Motion to Lift Stay and

  Re-Open Discovery [Doc. 122].



     A. Defendant’s Time Records are Relevant

         Defendant first argues that the Court should not allow discovery of Defendant’s time

  records because those time records may not be itemized by task. Defendant does not specifically

  dispute that its attorneys and legal staff who worked on this case kept contemporaneous records

  of time spent on the case, but rather claims that legal staff are not required to specify the tasks

  they performed and may have reported time spent by “case type” rather than by the specific case

  name. Defendant requested to file a supplement and declaration on October 29, 2018, estimating

  that only 15% of Assistant U.S. Attorneys specifically identify the case name on which they

  work when recording their time in the USA-5 database. [Doc. 125, PageID#6311.] Notably,

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  Defendant has not asserted that DOJ counsel and staff who worked on this case in fact recorded

  time only by case type rather than case name. Despite its assertions, however, Defendant’s time

  records remain relevant and would be helpful in this Court’s determination of Ms. Almanza’s

  request for attorneys’ fees and expenses.

          First, Defendant’s unilateral representations about how staff may have reported their time

  does not make Defendant’s time records irrelevant. Just because DOJ employees may

  sometimes combine time spent on more than one case in a single time entry, or do not always

  specify the case they are working on, does not mean that this happened with any regularity in this

  case. Similarly, Defendant’s assertion that its employees are not required to specify in time

  records the tasks on which they worked does not necessarily mean that employees never

  specified their tasks. 1 For example, Defendant filed an affidavit in this case in September 2017

  by Michelle Mullinix, DOJ’s Forensic and Investigations Program Manager. [Doc. 17-2] In her

  affidavit, she testifies that two contractors spent 200 hours each and she spent 456 hours and 57

  workdays within three months responding to discovery requests in this case. [Doc.17-2, ¶¶10-11]

  Clearly, Ms. Mullinix and the contractors recorded time specifically to this case by name.

  Denying the opportunity to take discovery based on Defendant’s representations would unfairly

  allow Defendant the upper hand in determining what is and is not relevant for purposes of

  discovery. Cf., Bobo v. UPS, 665 F.3d 741, 753 (6th Cir. 2012) (reversing district court and

  discussing danger in allowing defendants to control discovery by unilaterally selecting what

  records are relevant to plaintiff’s requests).



  1
    Defendant has offered the declaration of the Assistant Director of Data Integrity and Analysis
  Staff to describe how USA-5 is typically used and what kind of information is typically reported
  but has not offered declarations from the attorneys of record in this case about how they actually
  used USA-5 and whether they actually specified cases and/or tasks when they recorded their
  time. [See Doc. 125-1.]
                                                   2

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         Moreover, even if DOJ staff who have worked on this case have not always specified

  tasks in their time entries, their records are dated and, when considered in conjunction with the

  case history and Plaintiff’s attorneys’ itemized statements, would provide evidence of what tasks

  were being performed. For example, it would be reasonable to infer that time entries on or near

  the time of a Court filing, such as Defendant’s dispositive motion or response to a motion by

  Plaintiff, were related to those filings. Entries dated immediately before and during scheduled

  depositions would almost assuredly be related to those depositions. Time logged in the weeks

  before and during trial would reasonably be considered time spent on trial preparations and could

  be compared with the time spent by Ms. Almanza’s counsel in those same weeks.

         Defendant’s time records are relevant even if they simply allow the parties to glean an

  approximation of time spent by Defendant during particular time periods. In comparing time

  spent by Plaintiff’s and Defendant’s legal teams, the question is not one of “fee parity” or, as

  stated by Defendant, an exact “apples to apples” comparison, because courts recognize that

  several factors may affect how much time one party spends on a particular task or particular case

  as compared to the other party. Serricchio v. Wachovia Securities, LLC, 258 F.R.D. 43, 46 (D.

  Conn. 2009). One party spending more time on a task or case than the other party is not

  necessarily an indication that the party’s time is unreasonable, but when a defendant alleges that

  the plaintiff’s fee request and overall time billed is excessive or exorbitant, “a comparison of

  each side’s records may aid the Court in divining the reasonable fees and costs to be awarded in

  this case.” Id. See also Henson v. Columbus Bank & Tr. Co., 770 F.2d 1566, 1575 (11th Cir.

  1985) (“While the concerns … regarding the relevancy of evidence of the other side's hours and

  fees are still prevalent, the trial judge may consider them as going to the weight of the evidence

  rather than its discoverability and admissibility.”)



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      B. Plaintiff’s Request for Discovery is Timed to Avoid Unnecessary Delay in Reaching a
         Final Resolution in This Case.
         Defendant next argues that Plaintiff’s request for discovery is premature because whether

  Defendant’s time records are relevant depends on the arguments Defendant makes in opposition

  to Plaintiff’s motion for fees. It may be true in some cases that the relevance of the opposing

  party’s time records cannot be ascertained until that party has stated its opposition to a motion

  for fees, but this is not true here. In this case, Plaintiff and Defendant have engaged in post-trial

  mediation, and through that process have asserted their respective positions on Plaintiff’s

  attorneys’ fees. Plaintiff shared with Defendant an accounting in early August of her attorneys’

  time spent to date. 2 Defendant strongly objected to paying any sum even remotely close to the

  amount of fees and expenses requested by Plaintiff, labeling the request as excessive and

  disproportionate to the claims made and results achieved in this case. Ultimately, the parties were

  able to settle all pending claims except for attorneys’ fees and costs. Contrary to Defendant’s

  statement in its response brief, Plaintiff’s current motion to re-open discovery is not simply

  based on conjecture regarding Defendant’s objections to her “unseen” request for fees. [Doc.

  124, PageID #6305.]

         The only way Defendant’s time records would be irrelevant is if Defendant does not

  object to the amount of time Plaintiff’s counsel has spent on the litigation. It is a certainty,

  however, that Defendant will object to Plaintiff’s impending motion for fees and costs.


  2
    Prior to mediation, DOJ counsel asked plaintiff’s counsel to avoid incurring additional
  attorneys’ fees while the parties attempted to resolve all remaining issues through mediation.
  Plaintiff’s counsel honored that request. At mediation, plaintiff’s counsel allowed DOJ counsel
  an opportunity to review the firm’s raw time records as evidence of the total hours invested and
  the detailed nature of the specific task descriptions. Plaintiff’s counsel did not allow DOJ
  counsel to make copies or notes because the time records contained unredacted attorney client
  privileged information and work product, and the records had not been carefully reviewed for
  inadvertent errors or edited for business judgment adjustments, which is a time-consuming
  project on such lengthy time records.
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  Otherwise, fees and costs would have been included in the settlement that the parties have

  already reached. It is just as certain that Defendant will object to the amount of time billed, not

  simply to the hourly rates proposed by Plaintiff’s counsel. 3

         Moreover, Defendant has not asserted that responding to Plaintiff’s proposed discovery

  requests would be unduly burdensome or prejudicial. Rather, Defendant acknowledges that its

  legal staff has kept records of its time spent in a database from which reports can be generated.

  Given this lack of burden or prejudice, combined with the certainty that Defendant will oppose

  Ms. Almanza’s motion for attorneys’ fees and expenses and that attorneys’ fees and expenses are

  the only remaining issues to be resolved in this case, Plaintiff’s request for discovery now is the

  most efficient and expedient way to obtain a final resolution to this dispute. An alternative

  timeline would require Plaintiff to wait to ask the Court’s permission to conduct discovery after

  both she and Defendant have filed their initial briefs on this issue. The case would then be

  delayed while the Court decides whether to allow discovery, and then, if the Court does allow

  discovery, while the Defendant is given time to respond to the discovery requests. Plaintiff

  would file her reply brief addressing Defendant’s objections to her request for fees and expenses

  only after those delays. 4 Instead of that delayed schedule, Ms. Almanza has requested leave to

  re-open discovery before initial briefings have been completed to allow the discovery process to

  take place while the parties are engaged in briefing. As this issue is the one remaining issue to




  3
    For purposes of compromise, during mediation, Plaintiff offered Defendant the benefit of
  calculating her attorneys’ fees based on her attorneys’ hourly rates adopted by this Court a year
  earlier in EEOC v. DolgenCorp, LLC, 3:14–CV–441. Defendant did not indicate that its
  objection to the amount of fees requested by Plaintiff was based on the hourly rates offered at the
  time; rather, it objected to the reasonableness of time spent.
  4
    Plaintiff prepared the specific discovery requests and attached them to her motion to avoid
  further delay by clarifying the limited scope of the requested discovery, and by allowing
  Defendant the opportunity to object now rather than interrupt the briefing schedule later.
                                                   5

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  be decided by this Court, a delay in resolving Plaintiff’s motion for attorneys’ fees and costs

  would mean a delay in obtaining a final judgment by the Court. Plaintiff is not trying to turn the

  contest over fees into a “second major litigation” [Doc. 124, PageID #6306 ¶9]; rather, she is

  trying to do the opposite by speeding along the process toward a final resolution of the case.


     C. Defendant’s Time and Expense Records Related to Ms. Almanza’s Whistleblower
        Retaliation Claim are Relevant and Proportional.
         Defendant’s final objection to Ms. Almanza’s motion to re-open discovery is an objection

  to one of the three proposed interrogatories and one of the three proposed requests for production

  of documents—those which request records related to Ms. Almanza’s complaints to the Office of

  Special Counsel (OSC) and Merit Systems Protection Board (MSPB) proceedings. Defendant

  asserts that because those administrative proceedings were separate from the present case, that

  any time spent on those proceedings is irrelevant. Defendant both mischaracterizes the

  connection between the two proceedings and misunderstands the relevance of its own records

  related to those proceedings.

         Ms. Almanza has alleged that she was the victim of retaliation, hostile work environment,

  and constructive discharge while working as an IT Specialist at the U.S. Attorney’s Office in the

  Eastern District of Tennessee. The claims that were heard before this Court, and which went to

  trial in June 2018, involved retaliation in response to Ms. Almanza’s complaints of sex and age

  discrimination under Title VII and the ADEA. Ms. Almanza also pursued a separate, but related,

  case, first in complaints to the OSC and then through proceedings with the MSPB, alleging that

  the retaliation, hostile work environment, and constructive discharge she suffered were also in

  response to her complaints about her supervisor’s waste of federal resources and fraud. Based on

  the interrelated facts and issues between the two proceedings, and for judicial economy, the

  Department of Justice proposed, and Ms. Almanza agreed, to a stay of her MSPB case pending

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  resolution of the present case. After Ms. Almanza obtained a jury verdict in her favor in this

  case, her pending whistleblower retaliation claims before the MSPB were resolved through

  negotiation as reflected in the settlement agreement filed in this Court. [Doc.119-1]

          Plaintiff’s Title VII and ADEA retaliation claims in this Court and the whistleblower

  retaliation claims with the MSPB involve largely the same set of facts, including the exact same

  retaliatory acts alleged in both actions for which separate proceedings are required based on the

  asserted improper motivation for those retaliatory acts. Although Plaintiff’s counsel here did not

  enter an appearance in the MSPB case, she monitored, advised, and negotiated on Ms.

  Almanza’s behalf with respect to the MSPB case as necessary to protect the Title VII and ADEA

  claims and to facilitate a resolution of all interrelated claims. Maintaining the separate MSPB

  case ultimately aided in the successful post-trial resolution of the present case in Ms. Almanza’s

  favor, including agreement from Defendant to pay her three times what she was awarded by the

  jury for her Title VII retaliation action. The Supreme Court has indicated that attorney fees may

  be awarded for extra-judicial activities, including optional or post-trial administrative

  procedures, that are sufficiently connected to the court action that is subject to the relevant

  statutory fee-shifting provision. Pennsylvania v. Delaware Valley Citizens' Council for Clean

  Air, 478 U.S. 546, 561 (1986), supplemented, 483 U.S. 711 (1987) (citing Webb v. Board of Ed.

  of Dyer County, 471 U.S. 234, 243 (1985)) (“for the time spent pursuing optional administrative

  proceedings properly to be included in the calculation of a reasonable attorney's fee, the work

  must be ‘useful and of a type ordinarily necessary’ to secure the final result obtained from the

  litigation”).

          What matters to the present discussion, however, is the relevance of Defendant’s

  counsel’s—not Plaintiff’s counsel’s—records of time spent on the MSPB whistleblower



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  retaliation case. In the MSPB proceedings related to whistleblower retaliation, Defendant has

  been represented by DOJ attorney Robin Fields. Although Ms. Fields is not counsel of record

  for Defendant before this Court, she was DOJ’s counsel for the EEO administrative proceedings

  and was heavily involved in this District Court litigation, appearing, for example, at depositions,

  at the parties’ initial mediation in June 2018, and throughout trial. Thus, time spent by Ms.

  Fields and other legal staff related to the present litigation may be recorded as part of the

  separate (but simultaneous) MSPB whistleblower retaliation case for which she is counsel of

  record. It would be impossible to obtain an accurate accounting of time spent by DOJ staff on

  this case without also viewing time records of DOJ staff attributed to the related MSPB case.

  For example, DOJ produced 19,000 pages of documents in this case, including OSC documents,

  all of which are relevant to both proceedings. DOJ staff such as Robin Fields may have recorded

  time spent reviewing the common set of documents to either this case or the MSPB case. Simply

  stated, the primary reason Plaintiff is requesting records related to the MSPB matter is to ensure

  a complete recording of time spent by defense counsel on this judicial proceeding.



  CONCLUSION

         For the reasons explained above and as stated in Plaintiff’s Motion to Lift Stay and Re-

  Open Discovery, Ms. Almanza asks that, in lifting the stay set by the Court on July 27 [Doc. 116;

  Doc. 121 (10/5/18 Order continuing stay)], the Court also permits her to serve the proposed

  discovery requests on Defendant. The requests relate solely to the time and expense invested by

  DOJ defending this case as relevant to determining the reasonableness of the time and expense

  invested by Plaintiff in successfully pursing her retaliation claims. To the extent that the Court

  agrees with Defendant that Plaintiff’s motion is premature, Plaintiff requests that her motion be



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  denied without prejudice so that she can renew the motion at a later date. 5 Plaintiff also asks the

  Court to enter a briefing schedule to be determined at the hearing on this motion scheduled for

  Wednesday, October 31, 2018.

                                                  Respectfully submitted,


                                                  s/Jennifer B. Morton
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 30, 2018, a copy of the foregoing was filed

  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

  system to all parties indicated on the electronic filing receipt. Parties may access this filing

  through the Court’s electronic filing system.

                                                  s/_Jennifer B. Morton
                                                  Jennifer B. Morton


  5
    If this Court denies Plaintiff’s motion to reopen discovery, Plaintiff further asks the Court to
  reject Defendant’s request that fees be denied to Ms. Almanza for time spent drafting discovery
  requests pursuant to this motion. [Doc. 125, fn 1.] See, e.g., White v. Imperial Adjustment Corp.,
  Civ.A. 99-3804, 2005 WL 1578810, at *11 (E.D. La. June 28, 2005) (“[Plaintiff] should not be
  penalized for every unsuccessful procedural motion or opposition; simply because [Plaintiff] lost
  a motion does not mean that her position was frivolous. Plaintiff's attorneys are obligated to
  represent their clients zealously, and the Court will not second-guess every unsuccessful strategic
  decision of plaintiff's counsel during this litigation.)
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